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13   Stability AI Ltd.
14

15                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
16
                                  SAN FRANCISCO DIVISION
17

18   SARAH ANDERSEN, an individual;                        Case No. 23-cv-00201-WHO
     KELLY MCKERNAN, an individual;
19   KARLA ORTIZ, an individual,                           STABILITY AI LTD.’S
                                                           CERTIFICATION OF
20    Individual and Representative Plaintiffs,            INTERESTED ENTITIES OR
21         v.                                              PERSONS PURSUANT TO
                                                           CIVIL L.R. 3-15
22   STABILITY AI LTD., a UK corporation;
     STABILITY AI, INC., a Delaware
23
     corporation; MIDJOURNEY, INC., a
24   Delaware corporation; DEVIANTART, INC.,
     a Delaware corporation,
25                              Defendants.

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     STABILITY AI LTD.’S CERTIFICATION OF INTERESTED ENTITIES OR
     PERSONS - 1 of 2
     (3:23-CV-00201)
            Case 3:23-cv-00201-WHO Document 57 Filed 04/18/23 Page 2 of 2




 1
            Pursuant to Civil L.R. 3-15, the undersigned certifies that as of this date, other than the
 2
     named parties, no entity has a pecuniary interest in the outcome of the case.              These
 3
     representations are made to enable the Court to evaluate possible disqualification or recusal.
 4

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            Dated: April 18, 2023                     Respectfully submitted,
 6
                                                      s/ Paul M. Schoenhard
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     STABILITY AI LTD.’S CERTIFICATION OF INTERESTED ENTITIES OR
     PERSONS - 2 of 2
     (3:23-CV-00201)
